                           UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA
                               1:20-CV-00442-CCE-JLW


FOOD LION, LLC, and MARYLAND
AND VIRGINIA MILK PRODUCERS
COOPERATIVE ASSOCIATION, INC.,

       Plaintiffs,

v.                                                  NOTICE OF APPEARANCE

DAIRY FARMERS OF AMERICA, INC.,

       Defendant.




       Please note the entry of appearance of Sarah Motley Stone of the Firm of Womble

Bond Dickinson (US) LLP as counsel of record for Defendant Dairy Farmers of America,

Inc., in this matter.

       Respectfully submitted this 9th day of June 2020.



                                          /s/ Sarah Motley Stone
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                                            1


      Case 1:20-cv-00442-CCE-JLW Document 26 Filed 06/09/20 Page 1 of 1
